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  About The Lancet Group

  The best science for better lives
  The Lancet began as an independent, international weekly general medical journal founded in 1823 by Thomas Wakley. Since its first issue (Oct
  5, 1823), the journal has strived to make science widely available so that medicine can serve and transform society, and positively impact the
  lives of people.

  Over the past two centuries, The Lancet has sought to address urgent topics in our society, initiate debate, put science into context, and
  influence decision makers around the world.

  The Lancet has evolved as a family of journals but retains at its core the belief that medicine must serve society, that knowledge must transform
  society, that the best science must lead to better lives.

  This year marks The Lancet's 200th anniversary. Find out more about how we will celebrate, self-reflect, and amplify our founding ideas with our
  present-day impact and vision for the future across all 24 journals that are a part of The Lancet Group.




  Explore the Lancet journals




          The Lancet        The Lancet Child &   The Lancet Diabetes &   The Lancet Digital       The Lancet       The Lancet Global       The Lanc
                            Adolescent Health       Endocrinology             Health          Gastroenterology &        Health            Haematol
                                                                                                 Hepatology




  Our manifesto
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  Highest standards for medical science

  The Lancet sets extremely high standards. We select only the best research papers for their quality of work and the progression they bring.

  Improving lives is the only end goal

  Too much research is done for research’s sake. We believe that improving lives is the only end goal and that research is only relevant when it
  has impact on human lives.

  Increasing the social impact of science

  We recognise that a great research paper is not enough and that it requires development, mobilisation, and exposure. So we promise to set
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        brings a wealth of expertise in scholarly publishing. Follow the journey of a paper.
        Peer review: peer review plays a vital role in ensuring the integrity of the scientific record. Our community of authors and external peer
        reviewers work in partnership with our expert editors to publish the best science to advance the health and wellbeing of people worldwide.
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       What is The Lancet?




       The Lancet: What we publish, and why




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  We are a collaborative, international team of over 170 professional editors, technical copy editors, production editors, marketing and
  communications specialists, designers, publishers, operations managers, editorial assistants, and multimedia and digital experts all dedicated
  to advancing health worldwide. Our main office is in London (UK), and we have offices in Beijing (China), New York (USA), Munich (Germany) as
  well as teams in Amsterdam (Netherlands), Barcelona (Spain), Cambridge (USA), Chennai (India), Madrid (Spain), Oxford (UK), Philadelphia
  (USA), Rio de Janeiro (Brazil), Shanghai (China), Sydney (Australia), and South Africa.

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     The Lancet Diabetes & Endocrinology

     The Lancet Digital Health

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